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14
                                  UNITED STATES DISTRICT COURT
15

16                           NORTHERN DISTRICT OF CALIFORNIA

17
      Katharine Bartlett, Barry Blisten, Phillip    Case No.: 23-cv-04123-PCP
18    Cohen, and Ronald Vose, individually and as
      representatives of the Class,
19                                                  NORTH AMERICAN COMPANY FOR
                                                    LIFE AND HEALTH INSURANCE’S
20                  Plaintiffs,                     NOTICE OF MOTION AND MOTION
                                                    TO DISMISS; MOTION TO STRIKE
21           v.                                     CLASS DEFINITION; MEMORANDUM
                                                    OF POINTS AND AUTHORITIES
22    North American Company for Life and
      Health Insurance,
23                                                  Judge:   The Honorable P. Casey Pitts
                     Defendant.                     Hearing: November 30, 2023
24                                                  Time:    10:00 a.m.
                                                    Place:   Courtroom 8, Fourth Floor
25

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 1                                  NOTICE OF MOTION AND MOTION

 2              PLEASE TAKE NOTICE that on November 30, 2023, at 10:00 a.m., or as soon

 3   thereafter as the matter may be heard by the Court, located in Courtroom 8 – 4th Floor, San Jose

 4   Courthouse, 280 South First Street, San Jose, CA 95113, Defendant North American Company

 5   for Life and Health Insurance (“North American”) will and hereby does move the Court,

 6   pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss any and all claims in this action

 7   for failure to state a claim upon which relief can be granted.

 8              North American moves to dismiss this entire action on the grounds that:

 9   (i)        Plaintiffs’ Complaint fails to allege sufficient facts to demonstrate that Plaintiffs have

10              standing to assert a claim under California’s Unfair Competition Law (UCL) and

11   (ii)       Plaintiffs fail to plead that they have no adequate remedy at law, which is a prerequisite

12              for equitable relief under the UCL.

13              Alternatively, North American moves for a partial dismissal of Plaintiffs’ claims to the

14   extent they claim that:

15   (i)        The caps, participation rates, and “spread fees” in North American’s fixed indexed

16              annuities are “fees” for the purpose of Section 25107 of the Education Code;

17   (ii)       Section 25101 et seq. of the Education Code imposes a continuing duty to update current

18              caps, participation rates, and “spread fees” for North American’s fixed indexed annuities;

19              and

20   (iii)      Section 25107 applies to the annuity purchased by Plaintiff Cohen in 2002, before the

21              effective date of the product registration requirement.

22              North American also moves under Federal Rule of Civil Procedure 12(f) to strike the

23   proposed class definition, at Paragraph 130 of the Complaint, on the ground that it alleges an

24   impermissible “fail-safe” class.

25              These motions are supported by this Notice of Motion and Motion, the accompanying

26   Memorandum of Points and Authorities, the accompanying Request for Judicial Notice, all

27   pleadings and papers on file in this action, and such other matters that the Court may rely on or

28   which may be presented to the Court at the time of the hearing.


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 1   Dated: September 29, 2023         /s/ Thomas A. Evans
                                       Thomas A. Evans
 2                                     Alston & Bird LLP
                                       Attorneys for Defendant
 3                                     North American Company for Life and Health Insurance
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     STATEMENT OF ISSUES TO BE DECIDED 1

 3          1. Whether interest credit factors are “fees”: North American’s annuity contracts

 4   include interest credit factors, which Plaintiffs identify as “caps, participation rates and spread

 5   fees,” that are contractual terms used to calculate the interest credited to the annuities’ various

 6   index accounts, but which never decrease those account values. Plaintiffs contend that these

 7   factors are “fees,” which North American cannot collect under Section 25107 of the Education

 8   Code, because they were insufficiently disclosed on the website “403bcompare.com” maintained

 9   by the California State Teachers Retirement System. North American contends that these

10   interest credit factors are not “fees” as that term is used in the Education Code. North American

11   therefore seeks dismissal of Plaintiffs’ claims to the extent they seek relief premised on a claim

12   that interest credit factors are unlawful “fees.”

13          2. Whether Education Code 25100 et seq. imposes an ongoing duty to update

14   interest credit factors: North American seeks dismissal of Plaintiffs’ claims to the extent they

15   depend on an alleged duty to update product information, including interest credit factors, on the

16   403bcompare.com website, because the Education Code does not impose such a requirement.

17          3. Whether Education Code 25100 et seq. applies to an annuity purchased in 2002:

18   North American seeks dismissal of Plaintiff Cohen’s claim because he purchased his North

19   American annuity in 2002, before the effective date of the registration requirement. The

20   registration requirements and related provisions of the Education Code do not apply to products

21   that were issued before November 30, 2004.

22          4. Whether Plaintiffs meet the standing requirements to assert claims under the

23   Unfair Competition Law (UCL): North American seeks dismissal of Plaintiffs’ claims because

24   they have failed to plead the requirements for standing under the UCL. Plaintiffs have not

25
            1
26             Because the complaints in this matter and the Taylor v. Midland National Life
     Insurance Company (23-cv-04125-PCP) matter raise the same issues and are largely identical
27   with the exception of details specific to the named plaintiffs, the motions filed in the Bartlett and
     Taylor cases are also largely identical, with the exception of section IV.D of this motion, which
28   is specific to named plaintiff Cohen. The Court may otherwise get the full substance of the
     arguments at issue in both matters by focusing on the Taylor motion, subject to variations in the
     Complaints and the individual plaintiffs in the two cases.
                                                       1
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 1   alleged facts sufficient to establish a causal connection between the alleged failure to post

 2   information on the 403bcompare.com website and any purported injury.

 3          5. Whether Plaintiffs have failed to plead that they lack an adequate remedy at law:

 4   North American seeks dismissal of Plaintiffs’ claims for restitution and injunctive relief under

 5   the UCL because they have failed to allege that they lack an adequate remedy at law, which is a

 6   prerequisite for obtaining equitable relief in federal court.

 7          5. Whether Plaintiffs’ proposed class definition should be stricken as a fail-safe

 8   class: North American moves to strike Plaintiffs’ proposed class definition, at Paragraph 130 of

 9   the Complaint, because it describes a “fail-safe” class, which identifies class members depending

10   on whether they can establish a key element of their claims—whether they paid “fees” that were

11   not “properly disclosed” on the website.

12   II.    INTRODUCTION

13          Plaintiffs are purchasers of fixed indexed annuities, which are long-term insurance

14   products that permit owners to accumulate savings through interest credits. Fixed indexed

15   annuities are neither mutual funds nor securities; they are regulated by the California Department

16   of Insurance. Unlike owners of shares in mutual funds, owners of fixed indexed annuities may

17   allocate the values of their annuities among a “fixed account” or one or more “index accounts.”

18   This case relates to the index accounts and the contractual provisions governing how interest

19   credits are calculated for those accounts. Index accounts in these annuities link the amount of

20   interest to be credited to the performance of a designated index, such as the S&P 500 or the Dow

21   Jones Industrial Average, but the insurer guarantees that the interest, however calculated, cannot

22   be less than zero. Therefore, annuity owners, unlike mutual fund investors who invest directly in

23   funds tracking the corresponding indexes, are not exposed to market losses if the value of the

24   linked index declines. Accordingly, Plaintiffs’ claims regarding these index accounts do not

25   involve any loss of either principal or prior gains.

26          Plaintiffs claim that North American collected unlawful “fees” by applying interest credit

27   factors, including caps, participation rates, and index margins, 2 to calculate interest credits using

28          2
              Plaintiffs refer to index margins as “spread fees,” although that term does not appear in
     the Plaintiffs’ annuity contracts.
                                                       2
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 1   a formula spelled out in the contracts. Plaintiffs mischaracterize the caps, participation rates, and

 2   margins as “indirect fees” because the contractual formulas that determine interest credits may

 3   result in credits that are lower than the return on a (much riskier) direct investment in the

 4   securities that make up each index (e.g., stocks in the S&P 500). Plaintiffs claim that North

 5   American has collected “unlawful” fees because it has not listed the numeric values of the

 6   interest credit factors on the 403bcompare.com website, allegedly in violation of cited provisions

 7   of the Education Code applicable to fixed indexed annuities offered to public school teachers for

 8   use in retirement plans.

 9           Plaintiffs are attempting to manufacture a statutory violation by promoting a concept of

10   “fee” that appears nowhere in the Education Code, the regulations governing fee disclosures for

11   mutual funds and other 403(b) plans, or any accepted dictionary definition. The fact that the

12   interest credits on annuity accounts may be less than the returns on a hypothetical direct

13   investment in securities does not mean that they are “fees.” As Plaintiffs concede, North

14   American does not invest in the securities that comprise the indexes used to calculate interest

15   credits on index accounts. (See Complaint, ¶ 51.) Therefore, they cannot allege that North

16   American withholds the return on such securities as a “fee.” Instead, it simply credits interest in

17   accordance with the crediting methods selected by contract owners, as provided in the contracts.

18          Investors in mutual funds are subject to fees and expenses that reduce the value of their

19   accounts. Mutual fund fees and expenses decrease the value of the owners’ investments, either

20   directly through shareholder fees or indirectly through the payment of operating expenses from

21   fund assets, regardless of the performance of the fund. In contrast, the interest credit factors used

22   to determine interest credited to the fixed indexed annuities only impact how much the index

23   account values increase from year to year. Indeed, every example in the Complaint involves an

24   increase to the account value through the receipt of an interest credit. (See Complaint, ¶¶ 85-87.)

25   There cannot be decreases because North American guarantees that the interest credits cannot be

26   less than zero.

27          Plan participants who want to maximize their potential returns are free to invest in mutual

28   funds with higher risks, including the risk of losing the principal they contributed to their

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 1   retirement plan. Those seeking stability and preservation of their principal may select products

 2   with lower risk, including fixed indexed annuities. The fact that the interest credited to owners

 3   of fixed indexed annuities may be less than the returns achieved by more aggressive direct

 4   investments in securities does not mean there is a “fee.” Unlike mutual fund owners who have

 5   been exposed to market losses and deductions from their accounts, fixed annuity owners have

 6   not lost any property; rather they have received interest as provided by their contracts. Clients

 7   who are willing to limit their upside potential in exchange for increased stability are not being

 8   charged a “fee”; they are simply buying an insurance contract that provides specified benefits,

 9   including protection from market losses, in exchange for premiums. The Complaint does not

10   deny that purchasers have, in fact, benefited from their purchases. It does not recognize,

11   however, that interest credit factors are simply part of the definition of what credits will be

12   provided, not fees payable to North American or anyone else.

13          Moreover, the Complaint misstates the law by mischaracterizing the interest credit factors

14   contained in the contracts as “fees.” The language of the statute does not hint at any legislative

15   intent to adopt a uniquely broad definition of “fee” that would extend to Plaintiffs’ tortured

16   reading of the term. The California Supreme Court, relying on dictionary definitions, has held

17   that the term “fee” denotes a payment as compensation for a service performed. In describing

18   the disclosure obligations relating to 403(b) plans, the Legislature listed ordinary examples of

19   fees and referenced regulatory requirements that incorporate the common understanding of

20   “fee”—an amount deducted from a person’s account or paid from the person’s assets in

21   connection with some transaction or service. Regulations of other agencies are consistent with

22   the view that those interest credit factors are not “fees.” The interest credit factors are merely

23   used to calculate how much annuity account values are increased. That calculation does not

24   result in a payment to anyone for any service or anything else. Therefore, North American

25   moves for the dismissal of the Plaintiffs’ claims to the extent they allege that the application of

26   interest credit factors resulted in the unlawful collection of a fee in violation of Section 25107 of

27   the Education Code because, as a matter of law, the interest credit factors are not “fees.”

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 1          North American also moves for the dismissal of Plaintiffs’ claims to the extent they rely

 2   on a claimed ongoing obligation to post “updated” information on interest credit factors on the

 3   403bcompare.com website. North American also moves to dismiss named Plaintiff Cohen’s

 4   claim because it relates to a contract purchased before November 30, 2004, before the Education

 5   Code required registration of products for use in 403(b) plans. In addition, North American

 6   moves to dismiss the complaint in its entirety because no Plaintiff has alleged facts that establish

 7   that he or she meets the standing or inadequate legal remedy requirements of the Unfair

 8   Competition Law. North American further moves to strike the proposed class definition in

 9   Plaintiffs’ Complaint as an impermissible “fail safe” class. For all these reasons, the Complaint

10   should be dismissed in whole or in part.

11   III.   FACTUAL BACKGROUND

12          Plaintiffs are current or former public school teachers and employees who purchased

13   North American fixed indexed annuities as part of a 403(b) plan, a form of tax-deferred

14   retirement plan in which teachers may hold either annuities or investments in mutual funds. 3

15   (See Complaint, ¶¶ 17-24.) Companies that offer annuities or mutual funds to public school

16   teachers for 403(b) plans in California are required to register such products with the California

17   State Teachers Retirement System (CalSTRS). Cal. Education Code §25101. Sections 25100 to

18   25115 of the Education Code govern the registration and disclosure of products for use in 403(b)

19   plans. Pursuant to the Code, CalSTRS has implemented the 403bcompare.com website, which

20   provides general information about saving for retirement as well as product information

21   regarding registered annuities and mutual funds. (See Complaint, ¶ 59.) The Education Code

22   requires disclosure of “expenses,” including “management fees and annual fees,” for registered

23          3
               All facts are taken from the allegations of the Complaint (for the purpose of this motion
24   only), documents referenced in or attached to the Complaint, and documents of which the Court
     may take judicial notice. See Request for Judicial Notice (“RJN”). Although North American
25   has included the contracts for each named plaintiff in its request for judicial notice, references in
     this brief are to the policy issued to named plaintiff Bartlett. There are variations among the
26   contracts and forms, some of which are merely matters of whether certain provisions are in the
     main body of the policy or in an endorsement, while others relate to the indexes and index
27   crediting methodologies. The performance of different policies depends greatly on when they
     were issued and choices made by their owners. However, for purposes of this motion, except as
28   otherwise noted, the cited provisions of the policies are sufficient examples of the terms of the
     other policies held by the named plaintiffs.

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 1   products. Cal. Education Code § 25101(a)(3) (listing examples of expenses). Section 25107

 2   provides that a vendor may not “charge” a “fee” that has not been disclosed on the website as

 3   required by Section 25101 of the code.

 4          Section 403(b) of the Internal Revenue Code permits employees of non-profit

 5   organizations and public school employees to save for retirement through pre-tax contributions

 6   to annuity contracts or “custodial accounts” (i.e., mutual funds). 26 U.S.C.§ 403(b)(1), (7).

 7   Annuities and mutual funds work differently and have features that may appeal to different

 8   participants, depending on, among other things, their risk tolerance, their age, and their planned

 9   date of retirement. Plan participants have a broad choice of funds and annuities to meet their

10   needs, with varying levels of risk. While some participants may be willing to place all or some

11   of their retirement savings in funds with higher potential returns and risk of market loss, others

12   may be more interested in stability and limiting their exposure to market risk.

13          This case involves fixed indexed annuities issued by North American to participants in

14   403(b) retirement plans in California. (Complaint, ¶ 1.) Fixed indexed annuities are insurance

15   products and are subject to regulation by the California Department of Insurance. See Cal. Ins.

16   Code §101. They are not subject to registration with the Securities and Exchange Commission

17   under the Securities Act of 1933 and they do not implicate the Investment Company Act of 1940,

18   which pertains to securities issued by investment companies, including mutual funds. 15 U.S.C.

19   § 77c (a)(8); Complaint, ¶ 73 (“An indexed annuity is therefore not defined as a security, but

20   instead as an insurance product …”). In contrast, mutual funds are regulated as securities under

21   the Investment Company Act of 1940. See Northstar Fin. Advisors v. Schwab Invs., 615 F.3d

22   1106, 1109 (9th Cir. 2010). The difference in the regulatory schemes derives from a key

23   difference in the products, which is that the guarantees provided by fixed indexed annuities like

24   North American’s protect purchasers from losing their principal. (See, e.g., Request for Judicial

25   Notice (“RJN”) at Ex. A, p. A-018).

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            A.      Fixed Indexed Annuities Use Interest Credit Factors to Calculate the
 1                  Amount of Interest Added to Annuity Account Values.
 2
            Premiums received from owners of annuities are added to one or more of the accounts
 3
     maintained pursuant to the annuity contracts, which include the fixed account and various index
 4
     accounts. (E.g., RJN at Ex. A, p. A-017, A-018.) Balances in the fixed account are credited with
 5
     interest at a fixed rate specified in advance of each policy anniversary. (E.g., id. at A-017.) The
 6
     fixed rate is only “fixed” for one year at a time, but it can never be less than a guaranteed
 7
     minimum fixed rate specified at the inception of the contract. (E.g., id. at A-005, A-017.) At
 8
     times specified in the contracts, owners may also allocate or reallocate some or all account
 9
     values to one or more “index accounts.” (E.g., id. at A-018, A-31.) The index accounts provide
10
     different methods for determining credits that involve the performance of a selected index and
11
     the application of one or more interest credit factors: caps, participation rates, or index margins.
12
     (E.g., id. at A-031-32, A-35-36, B-41-42.)
13
            Plaintiffs identify three interest credit factors that are used to calculate the total interest
14
     credit to an index account when the performance of the associated index is positive: 4
15
            Caps: “an upper limit on how much of the Crediting Strategy’s returns can be credited to
16
            an investor’s account.” (Complaint, ¶ 85).
17
            Participation Rates: the “percentage of an index’s returns that are credited to an
18
            annuity.” (Complaint, ¶ 86).
19
            Spread Fees:5 a “percentage amount that is subtracted from any gain generated by the
20
            Crediting Strategy.” (Complaint, ¶ 87).
21
            The interest credited under each type of interest credit factor differs depending on the
22
     performance of the index, as calculated under the particular contract and methodology selected
23
     by the owner. A hypothetical comparison of accounts linked to the S&P 500, each using a
24
            4
               Although Plaintiffs’ description of the interest credit factors is not fully consistent with
25   the terms of the annuity contracts, those allegations sufficiently describe those factors for
     purposes of this motion to dismiss, except that they fail to mention in paragraphs 85-87 that the
26   credits to the index accounts can never be less than zero. However, they acknowledge that the
     “investor cannot lose money.” (Complaint, ¶ 73.)
27          5
               Although Plaintiffs refer to index margins as “spread fees,” that term does not appear in
28   the contracts. The contracts provide for an “index margin” with respect to some index accounts,
     which are deducted from the as calculated percentage gain in the index, provided that, the
     interest credit will never be less than zero. (See, e.g., RJN at Ex. A, p. A-035.)
                                                        7
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 1   different interest credit factor, illustrates the broad variation in results. Suppose that an annuity

 2   owner had a choice of one account with a cap of 6%, one with a participation rate of 75%, and

 3   one with an index margin of 3%. If the accounts use an annual “point-to-point” methodology, in

 4   which credits are calculated using the difference in the index value at the beginning and the end

 5   of the policy year, the resulting credit under each account would depend on the magnitude of the

 6   change in the index value over the policy year, and no single account would always provide the

 7   most credit:

 8          Scenario A: Index increases by 3%:

 9          Cap: Because 3% is less than 6%, the interest credit would be 3%

10          Participation rate: 3% x 75%= 2.25%

11          Index margin: 3% - 3% = 0%

12          Scenario B: Index increases by 10%.

13          Cap: Because 10% is greater than 6%, the interest credit would be 6%

14          Participation rate: 10% x 75% = 7.5%

15          Index margin: 10% - 3% = 7%

16          Scenario C: Index increases by 14%

17           Cap: Because 14% is greater than 6%, the interest credit would be 6%

18          Participation rate: 14% x 75% = 10.5%

19          Index margin: 14% - 3% = 11%

20          The best choice in Scenario A would have been the cap; in Scenario B, the participation

21   rate; in Scenario C, the index margin. These hypotheticals demonstrate that the different interest

22   credit factors interact with different index returns to produce varying interest credits. But in

23   none of these cases is the interest credit factor applied as a “fee” charged for services rendered.

24          The applicable interest credit factors for each index account are specified in advance of

25   each contract anniversary and can differ from year to year, but may never be lower than a

26   minimum percentage (in the case of caps and participation rates) or greater than a maximum

27   percentage (in the case of index margins) guaranteed at the time the contract was issued. (E.g.,

28   RJN at Ex. A, p. A-011, A-032, A-036.) In no case for any index account can the interest credit

                                                   8
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 1   ever be less than zero, regardless of which interest credit factor is used. (E.g., id. at A-018, A-

 2   032, A-36 (“The Interest Credit will not be less than zero.”).) Thus, the interest credit factors

 3   only affect the account value when the associated index has a positive performance during the

 4   relevant crediting period. The point is that North American uses caps, participation rates, and

 5   margins to calculate index credits that increase the annuity’s account value (or in the worst case

 6   scenario, leave it the same); they are not “fees” that are deducted from the account value.

 7          As Plaintiffs concede, while interest credits on a fixed indexed annuity may be “tied to

 8   the performance of a specific market index,” North American “does not invest the investor’s

 9   money in that underlying market index.” (Complaint, ¶ 51.) Thus, when North American credits

10   interest through a formula that produces a lower credit because of the inclusion of a cap,

11   participation rate, or margin, it does not obtain or keep the difference between (i) the total

12   percentage increase in the underlying index, such as the S&P 500, and (ii) the percentage credit

13   the owner receives under the terms of the contract. 6 North American merely credits interest

14   pursuant to contractual provisions that include the index performance as one variable. The

15   interest credits therefore do not result in the retention or “charge” of a “fee” by North American.

16          B.      Investments in Mutual Funds Are Subject to Market Losses as Well as Fees
                    and Expenses that Are Deducted from Their Accounts and Reduce the Value
17                  of the Investment.
18          In contrast to fixed indexed annuities, a mutual fund is an “open-end investment

19   company” that pools investor funds and invests directly in various securities, including stocks.

20   Securities and Exchange Commission, Mutual Funds and ETFs: A Guide for Investors (2014), p.

21   4-5 (RJN, Ex. F). Investors in mutual funds share in the performance of the fund’s investments,

22   including any declines in share value. See id. at 4. Share value is directly related to the changes

23   in the market values of the securities owned by the fund. See id. at 11. A mutual fund therefore

24   exposes investors to market risk—in the event that the value of the securities held by the fund

25   declines, investors may lose their principal or see prior gains disappear. Id.

26
            6
27             North American does hedge its risks using derivatives contracts, but it is not obligated
     to do so by the contract and those hedges do not result in it retaining amounts corresponding to
28   the amounts Plaintiffs claim to be “fees.” Plaintiffs have not alleged that North American
     receives and retains such amounts.
             .
                                                      9
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 1           Investors in mutual funds must also bear the costs of operating the fund, through the

 2   payment of shareholder fees and the fund’s payment of operating expenses. Id. at 24.

 3   Shareholder fees are paid directly from shareholder accounts, withdrawals or contributions,

 4   either in connection with a transaction, such as loads paid on new investments, or periodically as

 5   account fees. Id. Operating expenses, such as the costs of administration and investment

 6   management, are paid from fund assets, so that the investors bear those costs as well because

 7   they directly reduce the net asset value of the shares in the fund. Id. Payments of shareholder

 8   fees and the fund’s expenses reduce the value of the investment regardless of market

 9   performance. Id. Even if the price of the securities held by a mutual fund were unchanged from

10   the time an investor purchases shares in the fund, investors could still receive less than their

11   original investment due to the deduction of shareholder fees from their accounts and the

12   reduction in overall fund assets to pay for operating expenses.

13           The SEC requires disclosure of shareholder fees and operating expenses in a standardized

14   table format in the prospectus. Id. at 26. Shareholder fees include sales charges, or loads,

15   deducted at the time of purchase, transactional fees such as redemption and exchange fees, and

16   annual account fees. Id. at 26-28. Disclosable operating expenses, paid out of mutual fund

17   assets, include management fees for advisors, distribution fees, and annual operating expenses.

18   Id. at 31-32. The SEC disclosure form for mutual fund includes a table that categorizes and lists

19   the fees and operating expenses that must be disclosed in the fund prospectus. (RJN at Ex. E, p.

20   11.) As discussed above, none of these items are associated with fixed indexed annuities.

21   IV.     ARGUMENT

22           A.      Legal Standards

23           Under Fed. R. Civ. P. 12 (b)(6), a motion to dismiss must be granted if the allegations in

24   the Complaint fail to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

25   Twombly, 550 U.S. 544, 570 (2007). While the Court must accept the plaintiff's well-pleaded

26   allegations as true, it need not accept conclusory claims, unwarranted deductions of fact, or

27   unreasonable inferences. Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).

28   Rather, “for a complaint to survive a motion to dismiss, the non-conclusory ‘factual content,’ and

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 1   reasonable inferences from that content, must be plausibly suggestive of a claim entitling the

 2   plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009). Here,

 3   Plaintiffs’ claims regarding interest credit factors rely entirely on the conclusory statement that

 4   they are “fees,” and therefore subject to disclosure under Section 25101 of the Education Code.

 5   Plaintiffs’ failure to plead facts necessary to establish standing to seek relief under the UCL or

 6   equitable relief from the Court similarly defeats their claims as a matter of law. The Court may

 7   therefore dismiss Plaintiffs’ claims for failure to state a claim upon which relief may be granted.

 8          Under Fed. R. Civ. P. 12(f), a party may file a motion to “strike from a pleading . . . any

 9   redundant, immaterial, impertinent, or scandalous matter.” The function of Rule 12(f) motions is

10   “to avoid the expenditure of time and money that must arise from litigating spurious issues by

11   dispensing with those issues prior to trial.” Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970,

12   973 (9th Cir. 2010) (citation omitted). “District courts have authority to strike class allegations

13   at the pleading stage where the class as defined in the complaint cannot be certified.” Goodrich

14   v. Cross River Bank, 2022 WL 2954933, at *1 (N.D. Cal. Jul. 26, 2022) (citing Kamm v.

15   California City Development Co., 509 F.2d 205, 207 n.3, 212-13 (9th Cir. 1975)).

16          B.      The Interest Credit Factors Used to Calculate Interest Credits Are Not
                    “Fees.”
17
                    1.      The Plain Language of the Statute Does Not Support Plaintiffs’ Novel
18                          Definition of “Fee.”
19          Although Section 25100 et seq. of the Education Code does not define the term “fee,”

20   there are no grounds on which to reasonably conclude that the Legislature intended to adopt

21   Plaintiffs’ novel assertion that the interest credit factors are “indirect fees.” When interpreting a

22   statute, the Court begins with “the plain language of the statute, affording the words of the

23   provision their ordinary and usual meaning and viewing them in their statutory context, because

24   the language employed in the Legislature’s enactment generally is the most reliable indicator of

25   legislative intent.” Heckart v. A-1 Self Storage, Inc., 4 Cal. 5th 749, 757 (2018) (quoting Fluor

26   Corp. v. Superior Ct., 61 Cal. 4th 1175, 1198 (2015)). If there is no ambiguity in the statutory

27   language “the plain meaning controls.” Id.; see People v. Clark, 45 Cal. App. 4th 1147, 1155

28   (Cal. App. 1996) (common definition of term controlled where Legislature did not provide

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 1   specialized definition of term.). “When attempting to ascertain the ordinary, usual meaning of a

 2   word, courts appropriately refer to the dictionary definition of that word.” Wasatch Property

 3   Management v. Degrate 35 Cal. 4th 1111, 1121-22 (2005). The California Supreme Court, after

 4   reviewing several dictionaries, concluded that the term “fee” denotes payment as compensation

 5   for a service performed. Trope v. Katz, 11 Cal. 4th 274, 280 (1995) (quoting Webster’s New

 6   International Dictionary 833 (3d Ed. 1961), “compensation often in the form of a fixed charge

 7   for professional service or for special and requested exercise of talent or of skill,” and 5 Oxford

 8   English Dictionary 797 (2d Ed. 1989), “‘a payment,’ such as the ‘remuneration paid or due to a

 9   lawyer, a physician or (in recent use) any professional man, a director of a public company, etc.

10   for an occasional service.’”); (see also RJN at Ex. G, Black’s Law Dictionary (11th Ed. 2019) (“a

11   charge or payment for labor or services, esp. professional services.”)).

12          Interpreting the term “fee” according to its ordinary definition, as opposed to accepting

13   Plaintiffs’ view that any difference between the return on a basket of risky securities and the

14   interest credited under an insurance contract is a “fee,” is also supported by the context of other

15   language in the statute. Education Code Section 25101(a)(3) requires disclosure of “expenses”

16   paid directly or indirectly, including but not limited to “penalties for early withdrawals, declining

17   or fixed withdrawal charges, surrender or deposit charges, management fees and annual fees,

18   supported by documentation as required for prospectus disclosure by [FINRA] and the [SEC].”

19   The listed expenses do not extend beyond ordinary charges, including fees for management of a

20   fund or annual fees to cover administration. Such fees are common in the mutual funds that are

21   available to participants in 403(b) plans. (See RJN at Ex. F, p. 24-25.)

22          Plaintiffs’ novel and expansive reading of the term “fee” is firmly in conflict with well-

23   settled canons of statutory construction. Under the canon of ejusdem generis, when the

24   Legislature provides a nonexclusive list, “including but not limited to” several specific examples,

25   either before or after a general term, the general term is “restricted to those things that are similar

26   to those which are enumerated specifically.” Harris v. Capital Growth Investors XIV, 52 Cal. 3d

27   1142, 1160, n. 7 (1991). “The canon presumes that if the Legislature intends a general word to

28   be used in its unrestricted sense, it does not also offer as examples peculiar things or classes of

                                                  12
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 1   things since those descriptions then would be surplusage.” Kraus v. Trinity Management Servs.,

 2   Inc., 23 Cal. 4th 115, 141 (2000). Plaintiffs’ unrestricted and expansive reading of “fee” is

 3   inconsistent with the examples set out in the statute (“management fees” and “annual fees”),

 4   which reflect the Legislature’s intent to restrict the term to its ordinary usage. Had the

 5   Legislature intended to include factors used to calculate interest according to the contractual

 6   formula for annuity interest credits within the scope of Education Code section 25107, it would

 7   have done so expressly, rather than by relying on a novel interpretation of the term “fee” that

 8   conflicts with that term’s use in other sections of the statute.

 9          Expanding “fee” to include interest credit factors also conflicts with Section 25107 of the

10   Education Code’s prohibition against “charging” fees: “a vendor may not charge a fee

11   associated with a registered 403(b) product that is not disclosed.” (emphasis added). The verb

12   “charge” contemplates an actual payment or explicit deduction from an account. See Rhodes

13   Jamieson, Ltd. v. Cal. St. Bd. Of Equalization, 201 Cal. App. 2d 343, 345 (1962) (“charge” is

14   “the price demanded for a thing or service; a debit to an account” or “the price required or

15   demanded for service rendered, or … for goods supplied.” Quoting Webster’s Third

16   International Dictionary and 14 Corpus Juris Secundum 402 (ellipsis in original)). Application

17   of a cap, participation rate, or index margin does not result in a “charge” that is paid by the

18   owner or collected by the insurer. 7 Unlike fees and expenses on mutual funds, interest credit

19   factors do not result in a payment by the owner or a deduction from the existing account value.

20                  2.      Similar Regulatory Fee Disclosure Requirements Do Not Adopt
                            Plaintiffs’ Broad Concept of Fees.
21
            Other regulatory disclosure regimes also support an ordinary definition of “fee” that does
22
     not extend to interest credit factors. Although the SEC’s prospectus disclosure requirements do
23
     not apply to North American’s annuity products because they are not securities, the reference to
24
     the SEC’s requirements in Education Code Section 25101 also supports disclosures consistent
25
     with the ordinary meaning of the term “fee.” The SEC’s mutual fund prospectus disclosure form
26
     includes a standardized format for disclosures of fees and expenses. (See RJN at Ex. E, p. 11.)
27
            7
28             Indeed, the variability in the impact on the interest calculations that caps, participation
     rates, and index margins have is inconsistent with a characterization of any interest credit factor
     as a fee for services. See the examples at page 8 above.
                                                       13
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 1   The SEC-required disclosure for mutual funds distinguishes between “shareholder fees” and

 2   “annual operating expenses.” (Id.) Shareholder fees are amounts paid directly by the

 3   shareholder through deductions from contributions and withdrawals, including sales loads,

 4   exchange fees, redemption fees, and account fees. (Id.) Annual operating expenses are regular

 5   and recurring fund-wide expenses to service providers that are paid out of the fund assets. (Id.)

 6   In each case, the fee or expense reflects a deduction from an asset, whether paid directly by the

 7   shareholder or indirectly from fund assets. No such deduction occurs when a cap, participation

 8   rate, or margin is applied to a fixed indexed annuity.

 9          The Department of Labor’s disclosure requirements for participant-directed retirement

10   plans, which govern 403(b) plans held by non-public employees, include disclosure requirements

11   for “fees” and “expenses” that are specific to annuities. 29 C.F.R. § 2550.404a-5. The

12   regulations incorporate the same concept of fees as the SEC’s disclosure requirements, but also

13   recognize the key distinctions between mutual funds and annuities. The required disclosures for

14   mutual funds under ERISA mirror the SEC’s requirements, including maintaining the distinction

15   between shareholder fees and annual operating expenses. See 29 CFR §2550.404a-

16   5(d)(1)(iv)(A). As to annuities, the Department of Labor requires disclosure of “fees that will

17   reduce the value of amounts allocated by participants or beneficiaries to the option, such as

18   surrender charges, market value adjustments, and administrative fees.” 29 CFR §2550.404a-

19   5(i)(2)(vii)(F). Although fixed indexed annuities are available options for the 403(b) plans

20   covered by the Department of Labor disclosure regulation, the regulation never mentions caps,

21   participation rates, or margins.

22          A key point is that interest credit factors do not reduce the value of the amounts allocated

23   by owners to an index account. Instead, they only affect how much the account value may be

24   increased by interest credits beyond the amounts allocated. Fixed index annuities do not have

25   fees deducted from the account value of the contracts. The returns calculated as provided in the

26   contracts are simply credited to the accounts. Indeed, for index accounts subject to caps,

27   participation rates, and margins, when the underlying indexes decline, the calculated return is

28   zero. This is in contrast to a mutual fund, where annual operating expenses and management

                                                  14
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 1   fees are deducted regardless of the performance of the fund. Therefore, the index account

 2   interest credit factors are not like the fees associated with mutual funds; they are not fees at all.

 3
             C.      The Education Code Does Not Require Updating the Interest Credit Factors
 4                   Set by North American.

 5           Plaintiffs contend vendors must “update the details about their direct and indirect fees on
 6   403bcompare.com.” (Complaint, ¶ 63.) Plaintiffs’ claim that North American has an ongoing
 7   duty to update the caps, participation rates, and index margins has no support in the provisions of
 8   the Education Code. There is nothing in the statute that requires companies to update factors that
 9   may vary over time when that variation is allowed by the terms of the contract.
10           California Education Code section 25102 governs renewals and the addition of product
11   information after initial registration:
12           Registration shall be offered to vendors once annually, and renewal of registration
13           shall be required at least once every five years thereafter for vendors that wish to
             continue to participate. The board shall provide public notice prior to the initial
14           registration, annual registration, and registration renewal periods. The board may
             require, through a password–based update system that allows vendors to access
15           the registration list for the purposes of updating their product information, or
             through other means, an update of the information required to be provided under
16
             Section 25101 with each registration renewal. Registered vendors shall submit to
17           the board within the time required by the Securities and Exchange Commission an
             amendment to the information required to be provided under Section 25101 to
18           reflect material changes to the products or services offered that occur between
             registration or renewal periods. Registered vendors may register additional 403(b)
19           products with the board between registration or renewal periods by providing the
             board the information required under Section 25101 and fees required under
20
             subdivision (c) of Section 25108. …
21           The first sentence of Section 25102 provides that vendor registration will be offered once
22   annually and renewal of that registration shall be required at least once every five years. It does
23   not require updating product information between registration dates.
24           The third sentence provides that “The Board may require … an update of the information
25   required to be provided under Section 25101 with each registration renewal,” but it does not
26   impose any updating requirement if the Board decides not to impose one. Id. (emphasis added).
27   In fact, the Board has not adopted any regulation to provide an updating requirement. See
28   generally 5 Cal. Code. Regs. §§ 20500-27801 (comprising all regulations adopted by CalSTRS).

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 1          The fourth sentence contains a mandate, but it does not apply to registrations of fixed

 2   indexed annuities. It states that “Registered vendors shall submit to the Board within the time

 3   required by the Securities and Exchange Commission an amendment to the information required

 4   to be provided under Section 25101 to reflect material changes to the products or services

 5   offered that occur between registration or renewal periods.” But the SEC does not require

 6   updates to disclosures for fixed indexed annuities because they are not regulated securities. See

 7   15 U.S.C. § 77c (a)(8).

 8          The fifth sentence merely provides for registration of additional products following initial

 9   registration and before renewal, but does not require or mention posting additional information

10   regarding products that have already been registered.

11          The Plaintiffs’ annuity contracts expressly state that interest credit factors for new

12   crediting periods will be set at the beginning of each such period, subject to guaranteed minimum

13   cap and participation rates and guaranteed maximum index margins, maximums) which cannot

14   change during the lifetime of the contract. (E.g., RJN at Ex. A, p. A-007, A-031, A-035.)

15   Because those guarantees remain in force until the contract is surrendered, matures, or is

16   annuitized (RJN at Ex. B, p. B-032), there is no change over time that requires any updating or

17   posting of the interest credit factors on the website, which is properly focused in accordance with

18   the statute on products being offered for issuance to new purchasers. Plaintiffs’ allegations as to

19   a requirement to update the website every time a cap, participation rate, or index margin is

20   updated are not plausible in the face of the language of the statute.

21          D.      Plaintiffs Cannot State a Claim for Products Issued Prior to the Creation of
                    the 403b Compare Website.
22

23          Plaintiff Cohen alleges that he owned a North American annuity from 2002 to 2019.

24   (Complaint, ¶ 22.) Plaintiffs further allege that information regarding Cohen’s annuity never

25   appeared on 403bcompare.com. (Id., ¶ 113.) Cohen cannot state a claim related to that annuity,

26   because the statute does not require any disclosures as to unregistered products that were

27   purchased before 2004. While the statute generally prohibits employers from transmitting

28   payments for products that are not registered under Section 25101, school district employees

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 1   may continue to contribute to an unregistered product “purchased or entered into prior to

 2   November 30, 2004.” Cal. Education Code 25114(a). In other words, products that were

 3   purchased before any obligation to register existed may be continued without registration.

 4   Because the 2002 product is exempt from registration, it is not subject to the disclosure

 5   requirements for registered products under section 25101. Even if North American charged

 6   “fees” on the 2002 product (it did not), the prohibition on “charging” fees at Section 25107

 7   extends only to fees “associated with a registered 403(b) product.” Cohen therefore cannot

 8   maintain a claim relating to fees on an unregistered product that was issued before November 30,

 9   2004.

10           E.     Plaintiffs Have Not Adequately Pleaded Standing to Assert Claims Under the
                    UCL.
11

12           Plaintiffs’ claims under the UCL fail because they have not alleged facts sufficient to

13   meet the standing requirements of the statute. To maintain a private action under the UCL,

14   Plaintiffs must show that they have “suffered injury in fact” and have “lost money or property as

15   a result of the unfair competition.” Cal. Bus. & Prof. Code § 17204 (emphasis added). The

16   phrase “as a result of” implies a requirement of a causal connection between the conduct and the

17   injury. See Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 326 (2011). Where Plaintiffs

18   premise their claims on allegedly unlawful conduct, they must show that the alleged violation

19   resulted in an injury. “If a plaintiff ‘would suffer the same harm whether or not a defendant

20   complied with the law’ that forms the basis of a UCL claim, the ‘causal connection is

21   broken.’” Fuentes v. Dish Network, 2019 WL 13081492, at *6 (N.D. Cal. Aug. 4, 2019)

22   (quoting Daro v. Superior Court, 151 Cal. App. 4th 1079, 1099 (2007)). While Plaintiffs have

23   alleged a series of failures to comply with the relevant provisions of the Education Code, they

24   have not alleged that they would have behaved any differently if those alleged violations had not

25   occurred.

26           Although Plaintiffs broadly assert that North American’s conduct has misled teachers

27   into purchasing North American annuities, they do not specifically allege any loss of money or

28   property that occurred “as a result of” North American’s alleged failure to disclose fees on the

                                                  17
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 1   403bcompare.com website. Plaintiffs assert that North American, by “hiding its fees … has

 2   lured unsuspecting teachers into its poorly performing products and away from better products

 3   sold by vendors that disclose their fees.” (Complaint, ¶ 14.) Plaintiffs include themselves

 4   among “such teachers,” (id. at ¶ 15), but they do not allege that they were personally “lured” into

 5   purchasing their annuities by the alleged failure to disclose interest credit factors on the website.

 6   Although Plaintiffs identify the products they purchased and the dates of purchase, they do not

 7   claim that they were unaware of how their interest credits would be determined or any other

 8   alleged “fees.” (See Complaint, ¶¶ 106-110, 112-115, 121-122.) Indeed, none of the named

 9   plaintiffs alleges that they visited the 403bcompare.com website before they purchased their

10   annuities or any time thereafter. Therefore, Plaintiffs' claims fail because they have not alleged

11   that North American’s nondisclosures led them to suffer economic injury.

12          Plaintiffs cannot avoid the standing requirement by simply declaring the fees to be

13   “unlawful.” Where, as here, Plaintiffs assert that the “predicate unlawfulness is

14   misrepresentation and deception,” the causation requirement applies. Durell v. Sharp

15   Healthcare, 183 Cal. App. 4th 1350, 1363 (2010); see also Veera v. Banana Republic, LLC, 6

16   Cal. App. 5th 907, 919 (2016) (in UCL action under unlawful prong, “when a consumer’s theory

17   is that the defendant ‘engaged in misrepresentations and deceived consumers’ the consumer

18   needs to show reliance”) (quoting Kwikset Corp. v. Superior Court, 51 Cal. 4th 310. 326, n. 9

19   (2011)). The same rule applies to alleged failures to provide required disclosures. See Mayron

20   v. Google, LLC, 54 Cal. App. 5th 566, 575 (2020) (plaintiff lacked standing to assert claim for

21   failure to disclose terms of subscription and means of cancellation without allegation that failure

22   “caused plaintiff to spend money he otherwise would not have spent.”); Debono v. Cerebral,

23   Inc., 2023 WL 300141, at *2 (N.D. Cal. Jan. 18, 2023). Plaintiffs therefore cannot establish

24   standing by merely alleging that they were charged “fees” that were “illegal” or “unlawful”

25   solely because of a claimed statutory disclosure requirement. Because plaintiffs have not alleged

26   that they would have acted any differently if North American had made additional disclosures on

27   403bcompare.com, they have failed to allege causation and standing to maintain an action under

28   the UCL.

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 1           Plaintiffs’ attempt to use the “unfair” prong as a fallback does not alter the result. In

 2   cases alleging unfair practices, plaintiffs are still required to establish causation: “[t]he UCL

 3   provisions are not so elastic as to stretch the imposition of liability to conduct that is not

 4   connected to the harm by causative evidence.” In re Firearms Cases, 126 Cal. App. 4th 959, 981

 5   (2005). Therefore, Plaintiffs’ claims should be dismissed for lack of standing.

 6           F.      Plaintiffs Have Failed to Plead They Lack an Adequate Remedy at Law.

 7           Plaintiffs’ UCL claims, which seek equitable remedies of both restitution and injunctive

 8   relief, should also be dismissed because Plaintiffs have failed to plead that they lack an adequate

 9   remedy at law, a key prerequisite for obtaining equitable relief in federal courts. See Sonner v.

10   Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020) (“we hold that the traditional

11   principles governing equitable remedies in federal courts, including the requisite inadequacy of

12   legal remedies, apply when a party requests restitution under the UCL”). Courts in this district

13   have held that the holding of Sonner applies at the pleading stage, and that a failure to plead a

14   lack of an adequate remedy of law is grounds for dismissal of claims seeking equitable relief,

15   including claims under the UCL. See Stafford v. Rite Aid Corp., 2023 WL 2876109, at *4 (N.D.

16   Cal. April 10, 2023) (“Plaintiffs’ prayer for equitable relief must plausibly allege ‘the inadequacy

17   of a legal remedy’”); Sharma v. Volkswagen AG, 524 F. Supp. 3d 891, 907 (N.D. Cal. 2021)

18   (“[t]he issue is . . . whether a prayer for equitable relief states a claim if the pleading does not

19   demonstrate the inadequacy of a legal remedy. On that point, Sonner holds that it does not.”); see

20   also In re Macbook Keyboard Litig., 2020 WL 6047253, at *2-3 (N.D. Cal. Oct. 13, 2020).

21   Because Plaintiffs have not alleged the lack of an adequate remedy at law, their UCL claims

22   should be dismissed.

23           G.      The Court Should Strike Plaintiffs’ Improper Fail-Safe Class Definition.

24           Plaintiffs allege that North American has violated Section 25107 of the Education Code

25   by charging fees that were not properly disclosed on 403bcompare.com. (Complaint, ¶ 147.)

26   Their class definition limits membership to those employees “who paid fees that were not

27   properly disclosed on 403compare.com”:

28           All public employees of all California local school districts, community college
             districts, county offices of education, and state employees of a state employer
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            under the uniform state payroll system, excluding the California State University
 1          System, eligible to participate in an annuity contract and custodial account . . .
 2          who were invested in an indexed annuity 403(b) product issued by Defendant and
            who paid fees that were not properly disclosed on 403bcompare.com.
 3
     (Complaint, ¶ 130 (emphasis added).)
 4
            The definition assumes that Plaintiffs will prevail on their claim that they paid “fees that
 5
     were not properly disclosed.” The proposed class is a “fail safe” class because the
 6
     “determination of whether a person is a member of the class is dependent on whether he/she
 7
     prevails on the merits of the . . . claim alleged in the operative pleading.” Dixon v. Monterey
 8
     Fin. Servs., 2016 WL 4426908, at *2 (N.D. Cal. Aug. 22, 2016). In other words, class
 9
     membership is limited to only those putative class members who prevail on their claims.
10
            A class allegation becomes “fail-safe” when it “is defined in a way that precludes
11
     membership unless the liability of the defendant is established.” Kamar v. Radio Shack Corp.,
12
     375 F. App’x 734, 736 (9th Cir. 2010). “Such classes are prohibited ‘because a class member
13
     either wins or, by virtue of losing, is defined out of the class and is therefore not bound by the
14
     judgment.’” Johnson v. City of Grants Pass, 72 F.4th 868, 887 n.23 (9th Cir. 2023) (quoting
15
     Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 669 n.14 (9th
16
     Cir. 2022) (en banc)).
17
            A class definition that is limited to those individuals who prevail on their claim deprives
18
     the defendant of a key benefit of a class action if it prevails – a final judgment binding all class
19
     members. Here, if the class defined in the Complaint were certified and the factfinder
20
     determined (as it should) that the interest credit factors at issue here are not “fees that were not
21
     properly disclosed,” this finding would have no preclusive effect because the alleged class would
22
     vanish upon that merits determination. Courts in this district routinely strike similar “fail-safe”
23
     classes for this very reason. See, e.g., Greenfield v. Cross River Bank, 2023 WL 187495, at *4
24
     (N.D. Cal. Jan. 13, 2023) (striking “fail-safe” class definition because use of the phrase
25
     “completed a loan application” in the allegation “defines the class in a manner that limits
26
     membership to those who will prevail”); Salaiz v. eHealthInsurance Servs., 2023 WL 2622138,
27
     at *4-6 (N.D. Cal. Mar. 22, 2023) (striking “fail-safe” class in Telephone Consumer Protection
28
     Act case that conditioned class membership on a finding that defendant lacked the putative class
                                                  20
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 1   member’s “express written consent”); Brazil v. Dell Inc., 585 F. Supp. 2d 1158, 1166-67 (N.D.

 2   Cal. 2008) (striking class definitions that included California purchasers of “Dell computer

 3   products that ‘Dell falsely advertised’” because “[t]o determine who should be a member of

 4   these classes, it would be necessary for the court to reach a legal determination that Dell had

 5   falsely advertised”). Accordingly, Plaintiffs’ class definition should be stricken.

 6   V.       CONCLUSION

 7            For the above reasons, the Court should grant North American’s motion to dismiss and

 8   motion to strike. North American moves to dismiss the Complaint in its entirety because no

 9   Plaintiff has alleged facts that establish that he or she meets the standing requirements of Section

10   17204 of the Business and Professions Code and because Plaintiffs have not alleged they lack an

11   adequate remedy at law. Alternatively, because Plaintiffs’ claims turn on a construction of “fee”

12   that is not supported by the relevant sections of the Education Code, the Court should dismiss

13   Plaintiffs’ claims relating to interest credit factors with prejudice. In the alternative, North

14   American moves to dismiss Plaintiffs’ claims to the extent they rely on an alleged duty to update

15   product information, including interest credit factors, on the 403bcompare.com website, and as to

16   named plaintiff Cohen’s claim relating to a contract issued before November 30, 2004. To the

17   extent the Plaintiffs’ claims are not dismissed in their entirety, the Court should strike the class

18   definition in the Complaint.

19    Dated: September 29, 2023               /s/ Thomas A. Evans______________________
                                              Thomas A. Evans
20                                            Alston & Bird LLP
                                              Attorneys for Defendant
21                                            North American Company for Life and Health Insurance
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